     Case 3:16-cv-00463-BEN-JMA Document 186 Filed 07/24/18 PageID.17666 Page 1 of 5



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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11     VIASAT, INC., a Delaware corporation,           Case No.: 3: 16-cv-00463-BEN-JMA
12                                       Plaintiffs,
                                                       ORDER:
13     v.                                              (1) GRANTING IN PART AND
                                                       DENYING IN PART RENEWED
14     ACACIA COMMUNICATIONS, INC., a
                                                       MOTIONS TO FILE UNDER SEAL
       Delaware corporation,
15                                                     (2) GRANTING MOTION TO
                                       Defendant.      STRIKE
16
17                                                     [Doc. Nos. 174, 178, 179]
18
19          Before the Court are three motions. Plaintiff ViaSat, Inc. ("ViaSat") submits a
20    renewed Motion to Seal and a Motion to Strike Document Number 173. Defendant
21    Acacia Communications, Inc. ("Acacia") submits a renewed Motion to Seal. The Court
22    addresses all three Motions in this Order.
23 II I.    The Right of Access to Judicial Records
24          The Supreme Court has recognized "a general right to inspect and copy public
25    records and documents, including judicial records and documents." Nixon v. Warner
26    Communications, Inc., 435 U.S. 589, 597 (1978). Except for certain documents
27    "traditionally kept secret," federal courts begin a sealing analysis with "a strong
28    presumption in favor of access to court records." Foltz v. State Farm Mut. Auto. Ins. Co.,


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     Case 3:16-cv-00463-BEN-JMA Document 186 Filed 07/24/18 PageID.17667 Page 2 of 5



 1 331F.3d1122, 1135 (9th Cir. 2003). A party seeking to seal a judicial record bears the
 2        burden of overcoming this strong presumption by meeting the "compelling reasons"
 3        standard. Id.; Kamakana v. City & Cnty. Of Honolulu, 447 F.3d 1172, 1179 (9th Cir.
 4        2006) (applying compelling reasons standard to dispositive motions); DISH Network,
 5 L.L. C. v. Sonicview USA, Inc., No. 09-cv-1553-L, 2009 WL 2579052, at* 1 (S.D. Cal.
 6        Aug. 20, 2009) (treating motion for preliminary injunction as dispositive for sealing
 7        analysis because the motion directly addresses the merits and seeks injunctive relief
 8        before trial). That is, the party must "articulate[] compelling reasons supported by
 9        specific factual findings," Foltz, 331 F.3d at 1135, that outweigh the general history of
10        access and the public policies favoring disclosure, such as the "public interest in
11        understanding the judicial process," Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir.
12        1995). In tum, the court must "conscientiously balance[] the competing interests" of the
13        public and the party who seeks to keep certain judicial records secret. Foltz, 331 F.3d at
14        1135.

15   11   II.     Discussion
16                A.    Acacia and ViaSat's Renewed Motions to Seal.
17                On June 14, 2018, the Court entered an Order Granting in part and Denying in part,
18        ViaSat and Acacia's combined twenty Motions to Seal. (Doc. No. 169.) Having
19        reviewed the 8,774 pages covered by the motions, it was clear the parties sought to over-
20        seal many of the documents. While most of the documents contained portions of
21        information that would satisfy the "compelling reasons" standard, merely containing
22        portions of sealable information does not justify sealing a document in its entirety.
23        Consequently, the Court declined to seal several expert reports and related documents.
24                The Court now considers the parties renewed Motions to Seal several documents
25        previously denied. (Doc. Nos. 174, 179.) This time, neither party seeks to seal any of the
26        aforementioned documents in their entirety. Instead, ViaSat and Acacia each submitted
27        copies of the same 6 documents with varying degrees of redactions for the Court's
28        consideration. The documents in question are as follows:
                                                        2
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     Case 3:16-cv-00463-BEN-JMA Document 186 Filed 07/24/18 PageID.17668 Page 3 of 5



 1              1.    A redacted copy of the Opening Report of Professor Krishna Narayanan,
                      Ph.D., dated October 27, 2017.
 2
 3              2.    A redacted copy of the Expert Report of Dr. Alexander Vardy, dated
                      November 21, 2017.
 4
 5              3.    A redacted copy of the Expert Report of Stephen D. Prowse, Ph.D., CFA,
                      dated October 27, 2017, with Corrected Designation dated October 30, 2017,
 6
                      including accompanying Exhibits 3, 4, 5, 5a, 5b, 5c, 5d, 6, and 7 attached
 7                    thereto.
 8
                4.    A redacted copy of the Rebuttal Expert Report Regarding Damages of Brent
 9                    K. Bersin, dated November 21, 2017, including accompanying Exhibits 1, 2,
                      2.1, 2.2, and 3.0.
10
11              5.    A redacted copy of the Opening Report of Dr. Marwan Hassoun, dated
                      October 27, 2017.
12
13              6.    A redacted copy of the Expert Report of Dr. Richard W. Koralek, dated
                      November 21, 2017.
14
15   11         Acacia also seeks to file redacted versions of the following two documents:
16              1.    An Acacia PowerPoint presentation entitled "AC400 Project Review."
17              2.    An October 24, 2012 Email from C. Rasmussen and included "White
                      Paper."
18
19              Having considered both motions and reviewed the proposed redacted documents,
20        the Court GRANTS in part and DENIES in part both ViaSat and Acacia's Motions to
21        Seal. The Court Orders the following redacted documents filed on the public docket with
22   11   unredacted versions filed under seal:
23              Acacia's Motion to Seal - (Doc. No. 174.)
24              Exhibit 1 -A redacted copy of Acacia's PowerPoint presentation entitled "AC400
                Project Review."
25
26              Exhibit 2 -A redacted copy of the Opening Report of Professor Krishna
                Narayanan, Ph.D., dated October 27, 2017.
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     Case 3:16-cv-00463-BEN-JMA Document 186 Filed 07/24/18 PageID.17669 Page 4 of 5



 1           Exhibit 4 - A redacted copy of the Expert Report of Stephen D. Prowse, Ph.D.,
 2
             CFA dated October 27, 2017, with Corrected Designation dated October 30, 2017,
             including accompanying Exhibits 3, 4, S, Sa, Sb, Sc, Sd, 6 and 7 attached thereto.
 3
 4
             Exhibit 5 - A redacted copy of the Rebuttal Expert Report Regarding Damages of
             Brent K. Bersin, dated November 21, 2017, including accompanying Exhibits 1, 2,
 s           2.1, 2.2, and 3.0.
 6
             Exhibit 40 to Doc. No. 101 -The Court DECLINES to file under seal the October
 7           24, 2012, Email from Christian Rasmussen. The Court GRANTS filing under seal
             the included confidential "White Paper", pages bates-numbered ACIO l S94-60 of
 8
             Deposition Exhibit S63.
 9
             ViaSat's Motion to Seal - (Doc. No. 179.)
10
11
             Document (b) -A redacted copy of the Opening Report of Dr. Marwan Hassoun,
             dated October 27, 2017.
12
             Document (c) -A redacted copy of the Expert Report of Dr. Richard W. Koralek,
13
             dated November 21, 2017.
14
             Document (j) -A redacted copy of the Expert Report of Dr. Alexander Vardy,
lS
             dated November 21, 2017.
16
17           B.    ViaSat's Ex Parle Motion to Strike Document Number 173.
18           On June 28, 2018, ViaSat also moved to strike its Ex Parte Application to Seal
19    Document Number 173 containing portions of expert reports in accordance with the
20    Court's Order (Doc. No. 169) requiring a narrower, more particularized request to seal
21    together with redacted versions of the documents the Court previously determined should
22    not be sealed. The Motion is unopposed by Acacia.
23           Accordingly, the Court GRANTS ViaSat's Ex Parte Motion to Strike. ViaSat's
24    Ex Parte Application to Seal Document Number 173 shall be stricken from the docket.
25    III.   Conclusion
26           In sum, the Court finds that a majority of the parties' various motions to seal have
27    been narrowly tailored such that they do not unnecessarily impede upon the public's
28    ability to understand the nature of the proceedings and the factual basis for the parties'
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     Case 3:16-cv-00463-BEN-JMA Document 186 Filed 07/24/18 PageID.17670 Page 5 of 5



 1    claims. As such and in light of the aforementioned compelling reasons justifying sealing,
 2    the Court GRANTS in part and DENIES in part the Motions to Seal as described
 3    above. The Court further GRANTS ViaSat's Ex Parte Motion to Strike Document
 4 Number 173.
 5                         ERED.
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